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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

FLORIDA STATE CONFERENCE OF
BRANCHES AND YOUTH UNITS OF
THE NAACP, et al.,

             Plaintiffs,

v.                                             Case No.: 4:21cv187-MW/MAF

LAUREL M. LEE, in her official
capacity as Florida Secretary of
State,

          Defendant.
___________________________________/

               ORDER GRANTING MOTION TO INTERVENE

      This Court has considered, without hearing, the Republican National

Committee and National Republican Senatorial Committee’s (“Proposed

Intervenors”) Motion to Intervene. ECF No. 19. Plaintiffs’ oppose the intervention.

ECF No. 37. For the reasons provided below, the motion is GRANTED.

      A court must allow a party to intervene when the proposed intervenor “claims

an interest relating to the property or transaction that is the subject of the actions,

and is so situated that disposing of the action may as a practical matter impair or

impede the movant’s ability to protect its interest, unless existing parties adequately

represent that interest.” Fed. R. Civ. P. 24 (a)(2). The Eleventh Circuit has translated

the rule into a four-factor requirement—(1) the application must be timely, (2) the
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proposed intervenors must have an “interest relating to the property or transaction

which is the subject of the action,” (3) the proposed intervenors must be “so situated

that the disposition of the action, as a practical matter, may impede [their] ability to

protect that interest”; and (4) their interest must be “represented inadequately by the

existing parties to the suit.” Stones v. First Union Corp., 371 F.3d 1305, 1308–09

(11th Cir. 2004) (citations omitted).

      The Proposed Intervenors assert they have an interest in ensuring that

Plaintiffs do not “upend Florida’s duly enacted rules.” ECF No. 20 at 3. Although

the Proposed Intervenors’ claim that Defendants cannot adequately represent their

interest in ensuring that Florida’s laws are not upended is suspect, this Court need

not decide whether Proposed Intervenors can intervene as of right. See League of

Women Voters of Fla. v. Detzner, 283 F.R.D. 687, 688 (N.D. Fla. 2012) (“Whatever

might be said of the litigation stance of public officials generally, the State of Florida

has recently—repeatedly—shown little reluctance to pursue litigation on matters of

this kind; the state is no shrinking violet.”).

      This is so because a district court “may permit anyone to intervene who has a

claim or defense that shares with the main action a common question of law or fact.”

Fed. R. Civ. P. 24(b)(1)(B). District courts have broad discretion to grant or deny

permissive joinders. Chiles v. Thornburgh, 865 F.2d 1197, 1213 (11th Cir. 1989)

(citing Sellers v. United States, 709 F.2d 1469, 1471 (11th Cir. 1983)).


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      This Court exercises its discretion in granting Proposed Intervenors’ motion.

In doing so, this Court “consider[s] whether the intervention will unduly delay or

prejudice the adjudication of the original parties’ rights.” Fed. R. Civ. P. 24(b)(3).

First, Plaintiffs express their intention to add all 67 Florida supervisors of elections

as defendants in this case. ECF No. 37 at 5 n.2. Adding two more defendants is

unlikely to cause additional or significant delay. And it is this Court’s experience

that adding the Proposed Intervenors will not necessarily prejudice the original

parties because there is usually a significant overlap between the arguments made

by the Secretary of State and these Proposed Intervenors.

      But even if adding additional defendants creates some delay, as this Court

recognized in Jacobson v. Detzner, that delay is marginal when compared to the risk

that “denying Proposed Intervenors’ motion [will] open[] the door to delaying the

adjudication of this case’s merits for months—if not longer”—while Proposed

Intervenors appeal this Court’s decision. Case No. 4:18cv262-MW/CAS, 2018 WL

10509488, at *1 (N.D. Fla. July 1, 2018).

      As in Jacobson, this is a time-sensitive election case. Indeed, Proposed

Intervenors have already invoked the specter of Purcell. See ECF No. 26 at 8–9. The

people of Florida are better served by deciding this case sooner rather than later. As




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such, this Court will not open the door to such an unnecessary delay.

      SO ORDERED on June 8, 2021.

                                      s/Mark E. Walker
                                      Chief United States District Judge




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